                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF TENNESSEE
                                  AT KNOXVILLE


 UNITED STATES OF AMERICA,                              )
                                                        )
       Plaintiff,                                       )
 v.                                                     )      No. 3:06-CV-136
                                                        )      (Phillips/Shirley)
 CHRISTOPHER FORRESTER,                                 )
                                                        )
       Defendant.                                       )

                                          ORDER


       It is hereby ORDERED that defendant’s pro se letter requesting relief from the Court

 [Doc. 161] is REFERRED to the Honorable C. Clifford Shirley, United States Magistrate

 Judge, pursuant to 28 U.S.C. § 636(b) and the Rules of this Court, for disposition or for a

 report and recommendation as may be appropriate.


                                          ENTER:

                                                 s/ Thomas W. Phillips
                                               United States District Judge




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